                                                                                                                                                 2/04/22 11:04AM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF MICHIGAN - EDMI

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Amerivet Services LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  12795 Silver Lake Road
                                  Brighton, MI 48116
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Livingston                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




                    22-30167-jda           Doc 1        Filed 02/04/22          Entered 02/04/22 11:06:04                   Page 1 of 40
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 1
                                                                                                                                                     2/04/22 11:04AM

Debtor    Amerivet Services LLC                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




                    22-30167-jda            Doc 1           Filed 02/04/22          Entered 02/04/22 11:06:04                        Page 2 of 40
Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                                                                                                                                                                2/04/22 11:04AM

Debtor    Amerivet Services LLC                                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                    22-30167-jda                 Doc 1          Filed 02/04/22           Entered 02/04/22 11:06:04                     Page 3 of 40
Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 3
                                                                                                                                   2/04/22 11:04AM

Debtor   Amerivet Services LLC                                                        Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




                    22-30167-jda   Doc 1        Filed 02/04/22         Entered 02/04/22 11:06:04               Page 4 of 40
Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
                                                                                                                                                     2/04/22 11:04AM

Debtor    Amerivet Services LLC                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 4, 2022
                                                  MM / DD / YYYY


                             X   /s/ Garret Brown                                                         Garret Brown
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   owner




18. Signature of attorney    X   /s/ George E. Jacobs                                                      Date February 4, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 George E. Jacobs P36888
                                 Printed name

                                 Bankruptcy Law Offices
                                 Firm name

                                 2425 S. Linden Rd.
                                 Ste. C
                                 Flint, MI 48532
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (810) 720-4333                Email address      george@bklawoffice.com

                                 P36888 MI
                                 Bar number and State




                    22-30167-jda         Doc 1        Filed 02/04/22             Entered 02/04/22 11:06:04                    Page 5 of 40
Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                                                                                                                                                                       2/04/22 11:04AM




                                                                  United States Bankruptcy Court
                                                                   Eastern District of Michigan - EDMI
 In re      Amerivet Services LLC                                                                                                           Case No.
                                                                                                  Debtor(s)                                 Chapter    11


                                                              STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                                                 PURSUANT TO F.R.BANKR.P. 2016(b)
            The undersigned, pursuant to F.R.Bankr.P. 2016(b), states that:
1.          The undersigned is the attorney for the Debtor(s) in this case.
2.          The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]
            [ ]     FLAT FEE
             A.      For legal services rendered in contemplation of and in connection with this case,
                     exclusive of the filing fee paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
             B.           Prior to filing this statement, received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. .
             C.           The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
            [X]          RETAINER
             A.          Amount of retainer received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          13,262.00

             B.           The undersigned shall bill against the retainer at an hourly rate of $ 325.00 . [Or attach firm hourly rate schedule.]
                          Debtor(s) have agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.

3.          $     1,738.00        of the filing fee has been paid.
4.          In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including: [Cross out any
            that do not apply.]
            A.           Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
                         bankruptcy;
            B.           Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
            C.           Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
            D.           Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
            E.           Reaffirmations;
            F.           Redemptions;
            G.           Other:
                         Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                         reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                         522(f)(2)(A) for avoidance of liens on household goods.
5.          By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                     Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay
                     actions or any other adversary proceeding.
6.          The source of payments to the undersigned was from:
             A.        XX              Debtor(s)' earnings, wages, compensation for services performed
             B.                        Other (describe, including the identity of payor)




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                  22-30167-jda                  Doc 1            Filed 02/04/22                   Entered 02/04/22 11:06:04                            Page 6 of 40
                                                                                                                                           2/04/22 11:04AM




7.          The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law firm or
            corporation, any compensation paid or to be paid except as follows:

 Dated:        February 4, 2022                                                            /s/ George E. Jacobs
                                                                                           Attorney for the Debtor(s)
                                                                                           George E. Jacobs
                                                                                           Bankruptcy Law Offices
                                                                                           2425 S. Linden Rd.
                                                                                           Ste. C
                                                                                           Flint, MI 48532
                                                                                           (810) 720-4333
                                                                                           george@bklawoffice.com
                                                                                           P36888 MI

 Agreed:       /s/ Garret Brown
               Garret Brown
               Debtor                                                                      Debtor




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                 22-30167-jda                 Doc 1          Filed 02/04/22   Entered 02/04/22 11:06:04               Page 7 of 40
                                                                                                                                                   2/04/22 11:04AM




 Fill in this information to identify the case:

 Debtor name         Amerivet Services LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN - EDMI

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 4, 2022                        X /s/ Garret Brown
                                                                       Signature of individual signing on behalf of debtor

                                                                       Garret Brown
                                                                       Printed name

                                                                       owner
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                 22-30167-jda                 Doc 1          Filed 02/04/22              Entered 02/04/22 11:06:04              Page 8 of 40
                                                                                                                                                                                                        2/04/22 11:04AM


 Fill in this information to identify the case:

 Debtor name            Amerivet Services LLC

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF MICHIGAN - EDMI

 Case number (if known)
                                                                                                                                                                                         Check if this is an
                                                                                                                                                                                         amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                     12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                    $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                       $        1,183,528.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                      $        1,183,528.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                    $           771,728.97


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                       $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                               +$           517,852.88


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                             $           1,289,581.85




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                   page 1
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                   22-30167-jda                        Doc 1               Filed 02/04/22                        Entered 02/04/22 11:06:04                                         Page 9 of 40
                                                                                                                                                      2/04/22 11:04AM


 Fill in this information to identify the case:

 Debtor name         Amerivet Services LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN - EDMI

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Comerica Bank-Howell, MI                                checking                                                              $248,646.00




           3.2.     Comerica Bank-Howell, MI                                savings                                                                  $4,532.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                   $253,178.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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               22-30167-jda                  Doc 1          Filed 02/04/22       Entered 02/04/22 11:06:04                  Page 10 of 40
                                                                                                                                                     2/04/22 11:04AM



 Debtor         Amerivet Services LLC                                                                 Case number (If known)
                Name


           11a. 90 days old or less:                                 64,350.00   -                                   0.00 = ....                  $64,350.00
                                              face amount                               doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                   $64,350.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                       Net book value of         Valuation method used    Current value of
                                                                                     debtor's interest         for current value        debtor's interest
                                                                                     (Where available)

 39.       Office furniture
           office furniture, desk, chairs, drafting table,
           and computers                                                                       $1,000.00       Liquidation                          $1,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                        $1,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
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               22-30167-jda                  Doc 1          Filed 02/04/22              Entered 02/04/22 11:06:04                  Page 11 of 40
                                                                                                                                           2/04/22 11:04AM



 Debtor         Amerivet Services LLC                                                         Case number (If known)
                Name


               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2016 Ram 3500
                     130,000 miles                                                          $0.00                                       $25,000.00


           47.2.     2019 Ram 4500
                     49,000 miles                                                           $0.00                                       $50,000.00


           47.3.     2020 Ram
                     45,000 miles                                                           $0.00                                       $65,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           materials, steel, and scrap, machinery
           equipment                                                                        $0.00    Liquidation                       $725,000.00




 51.       Total of Part 8.                                                                                                        $865,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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               22-30167-jda                  Doc 1          Filed 02/04/22       Entered 02/04/22 11:06:04             Page 12 of 40
                                                                                                                                      2/04/22 11:04AM



 Debtor         Amerivet Services LLC                                                        Case number (If known)
                Name

            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. building located at
                     12795 Silver Lake
                     Road, Brighton, MI
                     48116                                Lessee                            $0.00      N/A                                 $0.00




 56.        Total of Part 9.                                                                                                            $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 4
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               22-30167-jda                  Doc 1          Filed 02/04/22       Entered 02/04/22 11:06:04            Page 13 of 40
                                                                                                                                                                          2/04/22 11:04AM



 Debtor          Amerivet Services LLC                                                                               Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $253,178.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $64,350.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $1,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $865,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,183,528.00            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,183,528.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 5
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                 22-30167-jda                   Doc 1            Filed 02/04/22                      Entered 02/04/22 11:06:04                     Page 14 of 40
                                                                                                                                                             2/04/22 11:04AM


 Fill in this information to identify the case:

 Debtor name         Amerivet Services LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN - EDMI

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Ally Financial                                 Describe debtor's property that is subject to a lien                   $65,492.00                $65,000.00
       Creditor's Name                                2020 Ram 4500
       200 Renaissance Ctr
       Detroit, MI 48243
       Creditor's mailing address                     Describe the lien
                                                      Auto PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Ally Financial                                 Describe debtor's property that is subject to a lien                   $49,433.00                $50,000.00
       Creditor's Name                                2019 Ram 4500
       200 Renaissance Ctr
       Detroit, MI 48243
       Creditor's mailing address                     Describe the lien
                                                      Auto PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 5
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                22-30167-jda                 Doc 1          Filed 02/04/22               Entered 02/04/22 11:06:04                  Page 15 of 40
                                                                                                                                                   2/04/22 11:04AM


 Debtor       Amerivet Services LLC                                                                   Case number (if known)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Ally Financial                                 Describe debtor's property that is subject to a lien                      $7,095.00    $25,000.00
       Creditor's Name                                2016 Ram 3500
       200 Renaissance Ctr
       Detroit, MI 48243
       Creditor's mailing address                     Describe the lien
                                                      Auto PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   Cadence Bank                                   Describe debtor's property that is subject to a lien                     $55,909.00   $301,619.00
       Creditor's Name
       2002 Timberloch Place,
       Suite 600.
       The Woodlands, TX 77380
       Creditor's mailing address                     Describe the lien
                                                      2nd lien on all assets of Debtor
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Caterpiller Financial                          Describe debtor's property that is subject to a lien                     $12,000.00    $12,616.00
       Creditor's Name                                Caterpillar 2C5000
                                                      lift truck S/N: AT 9031100
       2120 West End Ave,
       Nashville, TN 37203
       Creditor's mailing address                     Describe the lien
                                                      PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 5
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                22-30167-jda                 Doc 1          Filed 02/04/22               Entered 02/04/22 11:06:04                 Page 16 of 40
                                                                                                                                                    2/04/22 11:04AM


 Debtor       Amerivet Services LLC                                                                   Case number (if known)
              Name

                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   SBA                                            Describe debtor's property that is subject to a lien                     $205,700.00   $245,710.00
       Creditor's Name                                economic injury disaster loan
       801 Tom Martin Dr.
       Ste. 120
       Birmingham, AL 35211
       Creditor's mailing address                     Describe the lien
                                                      3rd lien on all asets of Debtor
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   SBA                                            Describe debtor's property that is subject to a lien                     $295,000.00    $40,010.00
       Creditor's Name                                economic injury disaster loan
       801 Tom Martin Dr.
       Ste. 120
       Birmingham, AL 35211
       Creditor's mailing address                     Describe the lien
                                                      4th lien on all assets
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8   Sheffield Financial                            Describe debtor's property that is subject to a lien                      $14,494.56    $15,000.00



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 3 of 5
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                22-30167-jda                 Doc 1          Filed 02/04/22               Entered 02/04/22 11:06:04                  Page 17 of 40
                                                                                                                                                   2/04/22 11:04AM


 Debtor       Amerivet Services LLC                                                                   Case number (if known)
              Name

       Creditor's Name                                35ft Texas Pride Trailer
       PO BOX 1704
       Clemmons, NC 27012
       Creditor's mailing address                     Describe the lien
                                                      Trailer lien/PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.9   Sheffield Financial                            Describe debtor's property that is subject to a lien                      $5,866.41     $3,500.00
       Creditor's Name                                16ft Bwise Trailer
       PO BOX 580229
       Charlotte, NC 28258
       Creditor's mailing address                     Describe the lien
                                                      PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 0     TBS Factoring                                  Describe debtor's property that is subject to a lien                     $55,139.00   $357,528.00
       Creditor's Name

       7740 NW85th Ter
       Oklahoma City, OK 73132
       Creditor's mailing address                     Describe the lien
                                                      blanket lien on all assets
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 4 of 5
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                22-30167-jda                 Doc 1          Filed 02/04/22               Entered 02/04/22 11:06:04                 Page 18 of 40
                                                                                                                                                           2/04/22 11:04AM


 Debtor       Amerivet Services LLC                                                                   Case number (if known)
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.1
 1      Tech Financial Services                       Describe debtor's property that is subject to a lien                       $5,600.00            $5,000.00
        Creditor's Name                               55 ton ironworker powerlink updrade
                                                      8' brak attachment with 4-way die
        155 Commerce Way                              copier, notcher attachment
        Portsmouth, NH 03801
        Creditor's mailing address                    Describe the lien
                                                      PMSI
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $771,728.97

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 5 of 5
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                 22-30167-jda                 Doc 1         Filed 02/04/22               Entered 02/04/22 11:06:04                  Page 19 of 40
                                                                                                                                                                  2/04/22 11:04AM


 Fill in this information to identify the case:

 Debtor name         Amerivet Services LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN - EDMI

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $25,153.00
           Abrasive Solutions                                                   Contingent
           12875 Mack Ave                                                       Unliquidated
           Cement City, MI 49233                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    trade account
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $19,612.54
           Alro Steel                                                           Contingent
           PO Box 541005                                                        Unliquidated
           Detroit, MI 48264                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    trade account
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,841.09
           American Express Business Cash Card                                  Contingent
           P.O. Box 650448                                                      Unliquidated
           Dallas, TX 75265                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    credit card
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,527.05
           American Express Business Plus                                       Contingent
           P.O. Box 650448                                                      Unliquidated
           Dallas, TX 75265                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    credit card
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 4
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                22-30167-jda                 Doc 1          Filed 02/04/22            Entered 02/04/22 11:06:04                             Page 20 of 40
                                                                                                                                                            2/04/22 11:04AM


 Debtor       Amerivet Services LLC                                                                   Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $78,952.00
          Billd                                                                 Contingent
          2700 W Anderson Lane #206                                             Unliquidated
          Austin, TX 78756                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    material funding
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $56,475.00
          CFG                                                                   Contingent
          765 East Route 70. Building A-101.                                    Unliquidated
          Marlton, NJ 08053                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $26,881.03
          Chase Business Visa                                                   Contingent
          PO BOX 6226                                                           Unliquidated
          Chicago, IL 60680-6026                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    credit card
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $28,000.00
          Comerica Bank                                                         Contingent
          P.O. Box 790408                                                       Unliquidated
          Saint Louis, MO 63179                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    credit card
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $10,000.00
          Daniels Building Company                                              Contingent
          33900 Eight Mile Rd.                                                  Unliquidated
          Farmington, MI 48335
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    collection
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $50,000.00
          Forward Financing                                                     Contingent
          53 State St,                                                          Unliquidated
          Boston, MA 02109                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $20,000.00
          Grarret Brown                                                         Contingent
          12795 Silver Lake Rd.                                                 Unliquidated
          Brighton, MI 48116                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    shareholder loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 4
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               22-30167-jda                  Doc 1          Filed 02/04/22            Entered 02/04/22 11:06:04                             Page 21 of 40
                                                                                                                                                            2/04/22 11:04AM


 Debtor       Amerivet Services LLC                                                                   Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $24,950.32
          Kabbage                                                               Contingent
          730 Peachtree Street                                                  Unliquidated
          Atlanta, GA 30308                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    line of credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,666.16
          Macomb Group                                                          Contingent
          3365 Associates Dr,                                                   Unliquidated
          Burton, MI 48529                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $95,336.25
          On Deck                                                               Contingent
          1400 BROADWAY 25TH FLOOR New York,                                    Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    term loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $22,445.62
          On Deck                                                               Contingent
          1400 BROADWAY 25TH FLOOR New York,                                    Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    line of credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,870.75
          Pay Pal Credit Services                                               Contingent
          Attn: Bankruptcy                                                      Unliquidated
          Po Box 103104                                                         Disputed
          Roswell, GA 30076
                                                                             Basis for the claim:    credit card
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $23,341.93
          Sugar Steel Corporation                                               Contingent
          2521 State Street Chicago Heights                                     Unliquidated
          Chicago Heights, IL 60411                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,717.14
          Sunbelt Rentals Inc.                                                  Contingent
          48595 Grand River Avenue,                                             Unliquidated
          Novi, MI 48374                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    trade account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 4
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               22-30167-jda                  Doc 1          Filed 02/04/22            Entered 02/04/22 11:06:04                             Page 22 of 40
                                                                                                                                                                  2/04/22 11:04AM


 Debtor       Amerivet Services LLC                                                                   Case number (if known)
              Name

 3.19      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $16,083.00
           TMS Metalizing Systems                                               Contingent
           7765 NW Eldorado Blvd Ste 101                                        Unliquidated
           Bremerton, WA 98312                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    trade account
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       517,852.88

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          517,852.88




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 4
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               22-30167-jda                  Doc 1          Filed 02/04/22            Entered 02/04/22 11:06:04                             Page 23 of 40
                                                                                                                                                  2/04/22 11:04AM


 Fill in this information to identify the case:

 Debtor name         Amerivet Services LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN - EDMI

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.        State what the contract or                   Lease for business
             lease is for and the nature of               premises located at
             the debtor's interest                        12795 Silver Lake
                                                          Road, Brighton, MI
                                                          48116
                  State the term remaining                1/25
                                                                                    Chestnut Development
             List the contract number of any                                        6253 Grand River, Ste. 700
                   government contract                                              Brighton, MI 48114


 2.2.        State what the contract or                   Lease of Genie 20ft
             lease is for and the nature of               Scissor Lift
             the debtor's interest

                  State the term remaining                4/25
                                                                                    Currency Capital Lease
             List the contract number of any                                        12100 Wilshire Blvd., Ste. 1750
                   government contract                                              Los Angeles, CA 90025




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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               22-30167-jda                  Doc 1          Filed 02/04/22      Entered 02/04/22 11:06:04                  Page 24 of 40
                                                                                                                                                2/04/22 11:04AM


 Fill in this information to identify the case:

 Debtor name         Amerivet Services LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN - EDMI

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Garett Brown                      12364 Nantucket Dr.                               SBA                                D   2.6
                                               South Lyon, MI 48178                                                                 E/F
                                                                                                                                    G




    2.2      Garett Brown                      12364 Nantucket Dr.                               Kabbage                            D
                                               South Lyon, MI 48178                                                                 E/F       3.12
                                                                                                                                    G




    2.3      Garett Brown                      12364 Nantucket Dr.                               SBA                                D   2.6
                                               South Lyon, MI 48178                                                                 E/F
                                                                                                                                    G




    2.4      Garett Brown                      12364 Nantucket Dr.                               TBS Factoring                      D   2.10
                                               South Lyon, MI 48178                                                                 E/F
                                                                                                                                    G




    2.5      Garret Brown                      12364 Nantucket Dr.                               On Deck                            D
                                               South Lyon, MI 48178                                                                 E/F       3.14
                                                                                                                                    G




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 2
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               22-30167-jda                  Doc 1          Filed 02/04/22     Entered 02/04/22 11:06:04               Page 25 of 40
                                                                                                                                        2/04/22 11:04AM



 Debtor       Amerivet Services LLC                                                         Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      Garret Brown                      12364 Nantucket Dr.                               Forward Financing          D
                                               South Lyon, MI 48178                                                         E/F       3.10
                                                                                                                            G




    2.7      Garrett Brown                     12364 Nantucket Dr.                               Cadence Bank               D   2.4
                                               South Lyon, MI 48178                                                         E/F
                                                                                                                            G




Official Form 206H                                                           Schedule H: Your Codebtors                               Page 2 of 2
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               22-30167-jda                  Doc 1          Filed 02/04/22     Entered 02/04/22 11:06:04             Page 26 of 40
                                                                                                                                                          2/04/22 11:04AM




 Fill in this information to identify the case:

 Debtor name         Amerivet Services LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN - EDMI

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                             $1,022,645.00
       From 1/01/2021 to 12/31/2021
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $812,443.00
       From 1/01/2020 to 12/31/2020
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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               22-30167-jda                  Doc 1          Filed 02/04/22            Entered 02/04/22 11:06:04                     Page 27 of 40
                                                                                                                                                             2/04/22 11:04AM

 Debtor      Amerivet Services LLC                                                                      Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




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               22-30167-jda                  Doc 1          Filed 02/04/22            Entered 02/04/22 11:06:04                       Page 28 of 40
                                                                                                                                                          2/04/22 11:04AM

 Debtor        Amerivet Services LLC                                                                        Case number (if known)



       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address
       11.1.    Bankruptcy Law Office
                2425 S. Linden Rd.
                Ste. C
                Flint, MI 48532                                      retainer plus filing fee                                  1/22                    $15,000.00

                Email or website address
                geolaw85@aol.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange                was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                      Dates of occupancy
                                                                                                                             From-To
       14.1.    4661 Crooked Lake Rd.                                                                                        2012-2020
                Howell, MI 48843

 Part 8:       Health Care Bankruptcies
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 3
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                22-30167-jda                 Doc 1          Filed 02/04/22               Entered 02/04/22 11:06:04                     Page 29 of 40
                                                                                                                                                        2/04/22 11:04AM

 Debtor        Amerivet Services LLC                                                                    Case number (if known)




15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred
       18.1.     Comerica Bank                                   XXXX-                       Checking                 4/21                           $26,000.00
                 1050 S Latson Rd,                                                           Savings
                 Brighton, MI 48116
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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                22-30167-jda                 Doc 1          Filed 02/04/22            Entered 02/04/22 11:06:04                  Page 30 of 40
                                                                                                                                                                2/04/22 11:04AM

 Debtor      Amerivet Services LLC                                                                      Case number (if known)




          None

       Facility name and address                                     Names of anyone with                 Description of the contents                   Do you still
                                                                     access to it                                                                       have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 5
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               22-30167-jda                  Doc 1          Filed 02/04/22            Entered 02/04/22 11:06:04                       Page 31 of 40
                                                                                                                                                                2/04/22 11:04AM

 Debtor      Amerivet Services LLC                                                                      Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Amerivet Services LLC                            welding                                          EIN:         XX-XXXXXXX
             12795 Silver Lake Road
             Brighton, MI 48116                                                                                From-To      2009-present


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory         The dollar amount and basis (cost, market,
               inventory                                                                                              or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Garret Brown                                   12364 Nantucket Drive                               owner and sole member of                      100% owner
                                                      South Lyon, MI 48178                                LLC



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 6
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               22-30167-jda                  Doc 1          Filed 02/04/22            Entered 02/04/22 11:06:04                       Page 32 of 40
                                                                                                                                                       2/04/22 11:04AM

 Debtor      Amerivet Services LLC                                                                      Case number (if known)




            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Garret Brown
       .    12795 Silver Lake Road
               Brighton, MI 48116                                $98,225                                                 over last year    wages/benefits

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         February 4, 2022

 /s/ Garret Brown                                                       Garret Brown
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         owner

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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               22-30167-jda                  Doc 1          Filed 02/04/22            Entered 02/04/22 11:06:04                   Page 33 of 40
                                                                                                                                                              2/04/22 11:04AM



                                                               United States Bankruptcy Court
                                                                Eastern District of Michigan - EDMI
 In re      Amerivet Services LLC                                                                                     Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the owner of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date February 4, 2022                                                       Signature /s/ Garret Brown
                                                                                            Garret Brown

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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               22-30167-jda                  Doc 1          Filed 02/04/22          Entered 02/04/22 11:06:04                       Page 34 of 40
                                                                                                                                   2/04/22 11:04AM




                                                               United States Bankruptcy Court
                                                                Eastern District of Michigan - EDMI
 In re      Amerivet Services LLC                                                                     Case No.
                                                                                 Debtor(s)            Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the owner of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       February 4, 2022                                         /s/ Garret Brown
                                                                      Garret Brown/owner
                                                                      Signer/Title




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               22-30167-jda                  Doc 1          Filed 02/04/22       Entered 02/04/22 11:06:04       Page 35 of 40
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                           George E. Jacobs
                           Bankruptcy Law Offices
                           2425 S. Linden Rd.
                           Ste. C
                           Flint, MI 48532


                           IRS-Special Procedures
                           P.O.BOX 330500
                           Stop 15
                           Detroit, MI 48232


                           Attorney General
                           Law Building
                           525 Ottawa
                           Lansing, MI 48913


                           U.S. Attorney
                           Attn: Civil Division
                           210 Federal Building
                           600 Church Street
                           Flint, MI 48502


                           U.S. Trustee
                           211 West Fort Street
                           Ste. 700
                           Detroit, MI 48226


                           Abrasive Solutions
                           12875 Mack Ave
                           Cement City, MI 49233


                           Ally Financial
                           200 Renaissance Ctr
                           Detroit, MI 48243


                           Ally Financial
                           200 Renaissance Ctr
                           Detroit, MI 48243


                           Ally Financial
                           200 Renaissance Ctr
                           Detroit, MI 48243


                           Alro Steel
                           PO Box 541005
                           Detroit, MI 48264

    22-30167-jda   Doc 1    Filed 02/04/22   Entered 02/04/22 11:06:04   Page 36 of 40
                       American Express Business        Cash Card
                       P.O. Box 650448
                       Dallas, TX 75265


                       American Express Business Plus
                       P.O. Box 650448
                       Dallas, TX 75265


                       Billd
                       2700 W Anderson Lane #206
                       Austin, TX 78756


                       Cadence Bank
                       2002 Timberloch Place, Suite 600.
                       The Woodlands, TX 77380


                       Caterpiller Financial
                       2120 West End Ave,
                       Nashville, TN 37203


                       CFG
                       765 East Route 70. Building A-101.
                       Marlton, NJ 08053


                       Chase Business Visa
                       PO BOX 6226
                       Chicago, IL 60680-6026


                       Chestnut Development
                       6253 Grand River, Ste. 700
                       Brighton, MI 48114


                       Comerica Bank
                       P.O. Box 790408
                       Saint Louis, MO 63179


                       Currency Capital Lease
                       12100 Wilshire Blvd., Ste. 1750
                       Los Angeles, CA 90025


                       Daniels Building Company
                       33900 Eight Mile Rd.
                       Farmington, MI 48335



22-30167-jda   Doc 1    Filed 02/04/22   Entered 02/04/22 11:06:04   Page 37 of 40
                       Forward Financing
                       53 State St,
                       Boston, MA 02109


                       Garett Brown
                       12364 Nantucket Dr.
                       South Lyon, MI 48178


                       Garett Brown
                       12364 Nantucket Dr.
                       South Lyon, MI 48178


                       Garett Brown
                       12364 Nantucket Dr.
                       South Lyon, MI 48178


                       Garett Brown
                       12364 Nantucket Dr.
                       South Lyon, MI 48178


                       Garret Brown
                       12364 Nantucket Dr.
                       South Lyon, MI 48178


                       Garret Brown
                       12364 Nantucket Dr.
                       South Lyon, MI 48178


                       Garrett Brown
                       12364 Nantucket Dr.
                       South Lyon, MI 48178


                       Grarret Brown
                       12795 Silver Lake Rd.
                       Brighton, MI 48116


                       Kabbage
                       730 Peachtree Street
                       Atlanta, GA 30308


                       Macomb Group
                       3365 Associates Dr,
                       Burton, MI 48529



22-30167-jda   Doc 1    Filed 02/04/22   Entered 02/04/22 11:06:04   Page 38 of 40
                       On Deck
                       1400 BROADWAY 25TH FLOOR New York,
                       New York, NY 10018


                       On Deck
                       1400 BROADWAY 25TH FLOOR New York,
                       New York, NY 10018


                       Pay Pal Credit Services
                       Attn: Bankruptcy
                       Po Box 103104
                       Roswell, GA 30076


                       SBA
                       801 Tom Martin Dr.
                       Ste. 120
                       Birmingham, AL 35211


                       SBA
                       801 Tom Martin Dr.
                       Ste. 120
                       Birmingham, AL 35211


                       Sheffield Financial
                       PO BOX 1704
                       Clemmons, NC 27012


                       Sheffield Financial
                       PO BOX 580229
                       Charlotte, NC 28258


                       Sugar Steel Corporation
                       2521 State Street Chicago Heights
                       Chicago Heights, IL 60411


                       Sunbelt Rentals Inc.
                       48595 Grand River Avenue,
                       Novi, MI 48374


                       TBS Factoring
                       7740 NW85th Ter
                       Oklahoma City, OK 73132




22-30167-jda   Doc 1    Filed 02/04/22   Entered 02/04/22 11:06:04   Page 39 of 40
                       Tech Financial Services
                       155 Commerce Way
                       Portsmouth, NH 03801


                       TMS Metalizing Systems
                       7765 NW Eldorado Blvd Ste 101
                       Bremerton, WA 98312




22-30167-jda   Doc 1    Filed 02/04/22   Entered 02/04/22 11:06:04   Page 40 of 40
